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CASE NO. 14-1417

IN THE UNITED STATES COURT OF APPEALS
FOR THE TENTH CIRCUIT

ENDREW F., A MINOR, BY AND THROUGH HIS
PARENTS AND NEXT FRIENDS,
JOSEPH and JENNIFER F.,

Appellant,

V.

DOUGLAS COUNTY SCHOOL DISTRICT RE-l,

\._/\_/\_/\_/\_/\¢_/\_/\_/\.,/\.,/\.,/

Appellee.

 

Appeal from the United States District Court
for the District of Colorado
Civil Action No. 12-cv-2620-DME-MEH

 

APPELLANT’S SUPPLEMENTAL REPLY BRIEF

 

Respectfully Submitted on July 14, 2017,
SPIES, POWERS & ROBINSON, P.C.

/S/Jack D. Robinson

 

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The school district’s supplemental brief mischaracterizes the record in many
respects But given space constraints and the purpose of this supplemental briefing
_ Which takes the record as a given and assumes the Court’s familiarity With it - We
cannot and need not correct these mischaracterizations. Instead, this reply addresses
the school district’s arguments relevant to this Court’s supplemental briefing order
regarding the Supreme Court’s decision in Endrew F. v. Douglas Coumy School
DistrictRE-], 137 S. Ct. 988 (2017).

ARGUMENT

l.a. The School district does not address application of the Suprerne Coult’S
decision until page 9 of its supplemental briet`. When it does, its first parry is to cast
aside as dicta this Court’s statement that Whether DreW had been provided a FAPE
presented “without question a close casc.” Endrew F. ex re!. Joseph F. v. Douglas
County School Dz'st. RE-], 798 F.3d 1329, 1342 (l()th Cir. 2015). See Appellee’S
Supp. Br. 9-10. This effort fails.

The closeness of this case under the “rnerely more than de minimis” standard
Was plainly germane to this Court’s FAPE decision This Court began its discussion
of Drew’s substantive FAPE challenge by noting that “We must first address the
parents’ contention that our circuit recently shifted the standard With Which We

measure the substantive adequacy of an IEP” from the “merely more than de minimis”

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standard to a “heightened” standard. Endrew F., 798 F.3d at 1338 (emphasis added).
The Court then discussed at considerable length why circuit precedent bound it to the
lower standard Id. at 1338-1340. lt was only after that discussion - Which would
have been unnecessary if a more demanding standard would have led to the same
result - that this Court concluded that the “rnerely more than de minimis” standard
had been met.

Moreover, this Court’s “close case” statement was the premise for the Court’s
concluding paragraph - where it applied the “merely more than de minimis” standard
to the facts of this case. Thus, the Court began that paragraph by observing that
Drew’s was “without question a close case” and then found “sufficient indications of
Drew’s past progress” to render the IEP “substantively adequate” under “our
prevailing standard.” Id. at 1342. lt is against this backdrop that a case previously
viewed as unquestionably close and decided in the school district’s favor under a
standard set at just-above-de minimis should, as a matter of logic, be decided in
Drew’s favor when gauged against a standard that is “markedly more demanding” of
the school district (and thus markedly more favorable to Drew). See Endrew, 137 S.
Ct. at 1000.

We acknowledge the awkwardness of engaging in an extended back-and-forth

with the school district about what this Court meant by its own words. But, with all

respect, we believe that we are entitled to take those words at face value unless the

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Court tells us otherwise On those words alone, this Court should reverse.

b. The school district also argues that “even to the extent that this Court”
accepts its prior words at face value, they are “hardly dispositive.” Appellee’s Supp.
Br. 10. The school district thus acknowledges that the Supreme Court’s new standard
“is markedly more demanding than requiring an IEP that is only reasonably calculated
to confer some benefit that is merely more than de minimis,” tdc (emphasis in original)
_ an admission that certainly so unds dispositive - and then nevertheless maintains that
the Supreme Court’ s decision also “includes an element that fundamentally altered the
judicial inquiry.” Ia'. This element, the school district says, is the “who[ly distinct”
question whether Drew’s IEP was calculated to provide appropriate progress in light
of Drew’s unique circumstances [d. at ll (emphasis in original). For this reason -
and this reason alone -the school district says there is “no substantive reason” why
a close case decided under this circuit’s prior minimalist standard “cannot reach the
same ultimate outcome” under the new, markedly-more-demanding standard Id.

This argument is seriously mistaken To be sure, as explained in our opening
supplemental brief (at 9, 13), the Supreme Court in Endrew F. repeatedly reaffirmed
that an IEP must be tailored to the child’s unique needs. 137 S. Ct. at 999-1000.
Contrary to the school district’s assertion, however, this was nothing new (let alone
something that “fundamentally altered the judicial inquiry”). The Supreme Court in

Endrew F. repeatedly grounded the IDEA’s focus on the child’s “unique needs” in the

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lDEA’s text and in its decades-old decision in Board ofEducation v. Rowley, 458 U.S.
176 (1982). See, e.g., Endrew F., 137 S. Ct. at 999 (quoting 20 U.S.C. § l401(29) and
citing Rowley, 452 U.S. at 202). An IEP is, after all, an individualized educational
programl See id.

lndeed, the Supreme Court’s reaffirmation of the IDEA’s unique-needs-of-the-
child requirement works in Drew’s favor because it helps illustrate the significant
differences between a “merely more than de minimis” standard and one that is
markedly more demanding When, as in Drew’s case, a child’s IEPs remain largely
static year after year while his behavioral and academic situation is declining, those
IEPs cannot have been focused on the child’s unique needs. Drew’s IEPs identified
just one or two of his severe behavioral problems to the exclusion of all others - which
might have been permissible under a “merely more than de minimis” standard
requiring an IEP to seek some progress on any goal or objective But those IEPs could
not have been addressed to Drew’s unique needs, which were multi-t`aceted. See
Appellant’s Supp. Br. 13*14. In sum, to the extent that the Supreme Court’s focus on
a child’s unique needs affects application of the new, “markedly more demanding”
standard, it can only cut further in favor of reversal

2. The school district next seeks to buttress the quality of Drew’s April 2010
IEP - the IEP challenged in this case _ by pointing to minor changes in Drew’s

objectives from an earlier IEP. See Appellee’s Supp. Br. 12. But we do not claim that

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the IEPs remained entirely static year to year, only that the goals and objectives
remained nearly the same, thus reflecting a failure on the school district’s part to
change strategies when it was obvious that Drew’s situation Was deteriorating

In this regard, recall that, in the April 2010 IBP, the vast majority ofDrew’s IEP
goals from fourth grade were “continued” - that is, not achieved. See App. Vol. 3, at
222-238. And Drew was not only failing to progress, but regressing in several areas.
Id. at 222 (goal of retelling a passage deemed “no longer appropriate”); id. at 230
(regressing in goal of learning division with numbers ranging from 0-5). l-le was
generally unable to express the cause of his feelings to others, id. at 271, to learn his
peers’ names, id. at 272, or even to put on a coat, see App. Vol. 5, at 196-97. Nowhere
did the proposed April 2010 IEP seek to deal comprehensively with this regression1

3.a. The school district acknowledges that Drew’s autism manifested itself

 

1 Two of the school district’s mischaracterizations of the Apri12010 IEP
demand correction First, the school district says that “Drew’s language arts
objectives were extremely ambitious.” Appellee’s Supp. Br. 13. ln fact, the April
20101EP abandoned all the reading goals from the 2009 IEP. The April 2010 IEP
contained only two reading goals, both more rudimentary than what was sought
earlier. Compczre, App. Vol. 3, at 223-225 and 263. Second, the school district
suggests, by quoting the ALJ decision out of context, that it was regularly
reporting progress “reflect[ing] a higher level of expectation” for Drew.
Appellee’s Supp. Br. 13. But the ALJ found that Drew’s lEPs contained little or no
progress reporting or measurement data, and that, where progress was reported, it
was “lacking in detail” or limited to “conclusory statements about whether [Drew]
was on track to meet the expectations of the plan and whether the objective had
been completed or would be continued.” App. Vol. l, at 9, 15.

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in many ways and that multiple negative behaviors impeded Drew’s ability to learn
Appellee’s Supp. Br. 16. ln this respect, the difference between the “merely more than
de minimis standard” and one that is “markedly more demanding” and carried out
through an “appropriately ambitious” IEP, Endrew F., 137 S. Ct. at 1000, is
particularly salient As We have explained - and the school district does not dispute
- Drew’s IEPs generally were focused on overcoming only one of Drew’s severe fears
and a couple of Drew’s multiple negative behaviors. Appellant’s Supp. Br. 4~5, 13.
Under a FAPE standard in which seeking just-abcve-de minimis progress is lawful
that approach may (or may not) be sufficient After all, eliminating one fear or coping
with one negative behavior may be viewed as some non-trivial progress even if it does
not contribute meaningfully to the child’s overall ability to learn But in a markedly-
more-demanding regime, such a patchwork approach would never be viewed as
sufficient, let alone “appropriately ambitious.” Endrew F., 137 S. Ct. at 1000. As the
Supreme Court put it, that could be tantamount to providing almost “no education at
all.” Id. at 1001.

b. On this score, Paris SchoolDisirict v. A.H., 2017 WL 1234151 (W.D. Ark.
Apr. 3, 2017), issued after the Supreme Court’s decision in Endrew F., is instructive
There, the court noted that the Eighth Circuit’s FAPE standard ~ which had, like this
Court, looked to “merely more than de minimis” benefit ~ had been abrogated by the

Supreme Court’s “markedly more demanding” standard Id. at *4. The court then

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addressed whether the IEP for a child with autism had provided a FAPE. “The
behavior plans developed” for the child, the court explained, “were deficient because
they lumped all of [the child’s] behaviors into the category of ‘noncompliant
behavior,’ completely ignoring the nuances of behaviors that manifest with autism.”
Id. at *8 (ernphasis added). The court therefore agreed with a hearing officer’s
“conclusion that the behavior plans were inadequate, especially in light of the higher
standard ofEndrew F.” ]d. The court in Paris School District thus understood what
the school district here does not: Autism may present itself _ as it did with Drew -
with a spectrum of education-impairing behavioral problems, and a school district
cannot provide a FAPE unless it seeks comprehensively to address those behaviors.

4.a. The school district makes a series of puzzling and inapt arguments about
the supposed adequacy of the school district’s November 2010 IEP and Drew’s
education at Firefly. Appellee’s Supp. Br. 13-18. The November 2010 IEP was no
more adequate than the April 2010 lEP. But the simple and dispositive answer is that
the November 2010 IEP was crafted after Drew enrolled at Firefly, and so it is not
relevant here.

As for Drew’s rapid and substantial behavioral and educational progress at
Firefly, that is relevant, but not for the reasons discussed by the school district As
explained in our opening supplemental brief (at 8-10, 13-14), Drew’s “experience at

Firefly suggested that he would benefit from a different approach” from what the

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school district had been pursuing with j ust-above-trivial success for years. Endrew F_,
137 S. Ct. at 997.

The school district, on the other hand, apparently believes that what occurred
at Firefly shows the adequacy of what it did for Drew because Firefly has a
“behavioral focus” and was “not focused on the general education curriculum.”
Appellee’s Supp. Br. 16, 17. The school district offers no support for these assertions,
which presumably are meant to suggest that Firefly’s program is non-academic in
character. These claims are factually inaccurate Our opening supplemental brief (at
8-9) explains that Drew made immediate behavioral end academic gains at Firefly, and
this Court itself described Drew as “thriving” there. Endrew F., 798 F.3d at 1342.

And if the school district’s point is to somehow suggest that Firefly’s program
does not jibe with the IDEA, in an effort to restrict Drew’s parents’ entitlement to
relief, that will not work either. As this Court has already observed, “[t]here is no
contention here that Drew’ s placement at Firefly is not permissible under the Act.” 798
F.3d at 1329.

b. The school district’s arguments in this regard do, however, bring into relief
the inadequacy of the school district’ s efforts to educate Drew. The IDEA is concerned
with both “academic achievement and functional performance” - that is education
See 20 U.S.C. § 1414(d)(1)(A)(i)(l) and (ll). The IDEA recognizes that behavioral

disabilities inhibit academic achievement and functional performance Thus, the Act

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categorically covers children with autism, 20 U.S.C. § 1401(3)(A), while
understanding that autism is a condition whose first-order ramifications are behavioral.
See 34 C.F.R. § 300.8(0)(1)(1). Firefly recognized this too, in a way that the school
district did not, because it understood that the route to genuine educational
advancement for Drew was comprehensively addressing his behavioral problems that
were making the ultimate goal - education _ nearly impossible.

This is not to say that the school district wholly ignored Drew’s plight As
noted, its plan for dealing with Drew’s serious behavioral and educational problems
may have sought the bare minimum. But it lacked the “appropriately ambitious”
individualized educational program and “challenging objectives” that the Supreme
Court’s “markedly more demanding” FAPE standard demands Endrew F., 137 S. Ct.
at 1000.

Conclusion

This Court should hold that appellant Endrew F. was not provided a FAPE,
reverse the district court’s contrary decision, and remand for further proceedings
regarding the remedies due Drew’s parents in light of the school district’s failure to

provide Drew a FAPE.2

 

z The school district ends its brief (at 18»20) by suggesting that the “most
appropriate” course may be to remand the FAPE issue to the district court. We
disagree This case has been pending for years, and this Court is well positioned to
rule on the purely legal application of the Supreme Court’s decision The school

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Respectfully submitted on July 14, 2017,
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district maintains that remand is appropriate because we have raised two new
points f (l) that, under the lDEA, children must have the opportunity to meet
challenging objectives, and that (2) an IEP must be focused on the child’s unique
needs. See Appellee’s Supp. Br. 19. These are not arguments at all, let alone new
ones. As explained in our opening supplemental brief (at 13), these two
requirements are simply part of the Supreme Court’s “markedly more demanding”
FAPE standard ~ that is, they are at the center of what this Court asked the parties
to address in their supplemental briefs. See Endrew F., 137 U.S. at 1000
(discussing both attributes of the FAPE standard). And as noted (supra at 4), the
IDEA’s focus on the child’s unique needs stems from the lDEA’s text and the
Supreme Court’s 35-year-old decision in Rowley.

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CERTIFICATE OF SERVICE

I hereby certify that, on July 14, 2017, l electronically filed the foregoing with
the Clerk of the Court using the Appellate CM/ECF system which will send
notification of such filing to the following entail addresses:

 

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